3:22-cv-03071-CRL-KLM # 55-6   Filed: 05/10/24   Page 1 of 25




                EXHIBIT F
Case 1:17-cv-05191-ARR-RML
           3:22-cv-03071-CRL-KLM
                             Document
                                  # 55-6
                                      11 Filed:
                                         Filed 12/13/17
                                                05/10/24 Page
                                                          Page12ofof24
                                                                     25PageID #: 35




 United States District Court
 Eastern District of New York                                                    1:17-cv-5191(ARR)(MRL)
 Josh Davis, individually and on behalf
 of all others similarly situated,

                                         Plaintiff,

                     - against -                                                  First Amended Complaint

 The Hain Celestial Group, Inc. and Hain
 Blueprint, Inc.,

                                         Defendants

       Plaintiff Josh Davis (“plaintiff”) individually and on behalf of all others similarly situated, by

 attorneys, alleges upon information and belief, except for those allegations pertaining to plaintiff,

 which are based on personal knowledge:

            1.      The Hain Celestial Group, Inc. (“defendant Hain”) and Hain Blueprint, Inc.

     (“defendant Hain BluePrint”) (collectively, “defendants” or “Blueprint”) manufacture and

     sell a variety of beverage products under the “BluePrint” brand name.

            2.      The relevant products are included in multiple product lines, including but

     not limited to those designated “BluePrint Cold Pressed” and “BluePrint Organic.”

            3.      The Products are 10, twelve (12) and sixteen (16) ounces fruit and/or

     vegetable juice sold in brick-and-mortar stores and online, by defendants and third-parties.1

            4.      The relevant representations may appear across both product lines and

     include:

            •    Cold Pressed Juice or Cold Pressed Juice Beverage on the principal display panel

            •    Raw, Raw Fruit & Vegetable Drink, Raw Juice, 100% Raw


 1
  “Products” shall refer to the products which comprise the BluePrint Cold Pressed Juice product line and the
 BluePrint Organic product line. Otherwise, the designations will be to either the BluePrint Cold Pressed Juice
 products or the BluePrint Organic products.

                                                          1
Case 1:17-cv-05191-ARR-RML
           3:22-cv-03071-CRL-KLM
                             Document
                                  # 55-6
                                      11 Filed:
                                         Filed 12/13/17
                                                05/10/24 Page
                                                          Page23ofof24
                                                                     25PageID #: 36




            •    Citrus juices indicated as cold-pressed

            •    Predominance of ingredients

            5.      The following 16-ounce products are misrepresented as cold pressed juice,

     raw and implied to be “fresh” in part through the term “Manifreshto”:2

                               i.    Beet Apple Carrot Lemon Ginger
                              ii.    Carrot Golden Beet Orange Ginger Lemon
                            iii.     Pineapple Apple Mint
                             iv.     Chard Basil Apple Romaine Celery Cucumber Collards Lemon
                              v.     Arugula Kale Apple Romaine Celery Cucumber Lemon Ginger
                             vi.     Apple Lemon Cayenne Ginger
                            vii.     Lime Ginger Lemon Agave

            6.      The below representation of the front label is similar or identical to the other

     products and differs with respect to the ingredients used.

                                                         Carrot




 2
   Defendants may discontinue offering some products and regularly introduces new products that are also falsely and
 misleadingly labeled in the manner described here based on availability of fruits and vegetables. Defendant may also
 market and sell additional substantially similar products of which Plaintiffs are unaware. Plaintiffs will ascertain the
 identity of any such additional products as discovery progresses, and they reserve the right to amend the list of
 products at issue as necessary.

                                                            2
Case 1:17-cv-05191-ARR-RML
           3:22-cv-03071-CRL-KLM
                             Document
                                  # 55-6
                                      11 Filed:
                                         Filed 12/13/17
                                                05/10/24 Page
                                                          Page34ofof24
                                                                     25PageID #: 37




            7.       The following are misrepresented as to the predominant ingredient:

                              i.    Beet Apple Carrot Lemon Ginger
                             ii.    Chard Basil Apple Romaine Celery Cucumber Collards Lemon
                            iii.    Arugula Kale Apple Romaine Celery Cucumber Lemon Ginger

            8.       Of the BluePrint Organic 12-ounce products, the following are

     misrepresented as being made with “cold pressed juice”:

                              i.    Lime Lifter
                             ii.    Lemon Yay

            9.       Defendants’ Products are made through multiple steps, the first which is

     “cold-pressing” of the individual ingredients.3

            10.      Cold-pressing is a preferred method of obtaining juice vis-à-vis the traditional

     centrifugal machine (blender) for the reasons below:

                                       Centrifugal                                  Cold-Pressed
     Method              Spinning blades in loud blender             Fruits and vegetables are grinded into
                         quickly produces juice                      pulp, which is deposited in a mesh bag.
                                                                     Up to 14,000 pounds of pressure are
                                                                     slowly applied to bag to express the
                                                                     liquid from the pulp
     Nutrients           Heat produced by the spinning               More enzymes, biological activity,
                         blades has a detrimental effect on          vitamins and nutrients because the
                         the enzymatic and nutritional               juice is slowly expressed instead of
                         content of the final product                sliced up and blended

     Leafy Greens        Thin blades inefficient at                  Grinding and pressing easily handles
                         handling leafy greens                       leafy greens
     Taste/Texture       Grittier inconsistent taste and             Smoother and cleaner taste, less pulp,
                         texture with more pulp                      crisper
     Structure           Higher water content contributes            Juice is more evenly made with less
                         to rapid deterioration                      separation
     Shelf-life          Several hours                               3-5 days
     Cost                Affordable for home use                     Expensive


 3
  Cold-pressing is in quotes only because the pressing does not inject any cold air or lower temperatures. The cold is
 used to distinguish the mechanism from centrifugally produced juice.

                                                          3
Case 1:17-cv-05191-ARR-RML
           3:22-cv-03071-CRL-KLM
                             Document
                                  # 55-6
                                      11 Filed:
                                         Filed 12/13/17
                                                05/10/24 Page
                                                          Page45ofof24
                                                                     25PageID #: 38




  Result of Leafy
  Greens as
  Ingredients




         11.      The term “cold-press” is another term for a traditional masticating juice press

         12.      The emergence of the cold-pressed juice market has shown consumers are

  seeking different kinds of juice products, which are:

         •     Typically sold in specialized, stand-alone stores, directly to consumers as opposed

               to being sold by third-party vendors (i.e., grocery stores)

         •     Cost c. $10-$12 per 12 ounces

         •     Several pounds of produce for ingredients

         •     Either made on site or at local facility

         •     No processing step

         •     Absence of added sugars and preservatives

         •     Emphasis on non-traditional juice ingredients like kale and spinach

         13.      Cold-pressed juice is difficult to sell on a wide scale because

         •     Short shelf-life of 3-5 days

         •     difficulty in predicting supply and demand results in lots of discarded product


                                                    4
Case 1:17-cv-05191-ARR-RML
           3:22-cv-03071-CRL-KLM
                             Document
                                  # 55-6
                                      11 Filed:
                                         Filed 12/13/17
                                                05/10/24 Page
                                                          Page56ofof24
                                                                     25PageID #: 39




         •     impracticability of even overnight shipping for such a highly perishable product

         14.      Products represented as cold-pressed juice have a positive association among

  consumers, who are willing to pay a premium price for a designation.

         15.      To avoid discarding juice products and to reach a larger market, defendants

  subject their products to high pressure processing.

         16.      Nevertheless, defendants cannot immediately blend only the cold pressed

  ingredients and submit them to high pressure processing due to the nature of the food.

         17.      Many of defendants’ products are based on and/or contain ingredients with

  pH levels above 4.6:

                                      Ingredient        Approximate pH
                             Carrots                      5.88 - 6.40
                             Romain Lettuce               5.78 - 6.06
                             Beets (Red and Golden)       5.30 - 6.60
                             Celery                       5.70 - 6.00
                             Chard                        6.20 - 6.80
                             Arugula                      6.00 - 7.00
                             Basil                         5.50-6.50
                             Collards                      6.50-6.80
                             Cucumbers                     5.10-5.70
                             Kale                          6.40-6.80

         18.      FDA regulations require low-acid foods (defined as those with pH greater

  than 4.6) to undergo thermal processing because bacterial spores in low-acid products cannot

  be inactivated through increased pressure alone.

         19.      To avoid the requirement of thermal processing, the products are acidified

  through the addition of lemon juice, which has a pH range from 2.0-2.6 and is commonly

  used as an acidifying agent in the food industry.


                                                   5
Case 1:17-cv-05191-ARR-RML
           3:22-cv-03071-CRL-KLM
                             Document
                                  # 55-6
                                      11 Filed:
                                         Filed 12/13/17
                                                05/10/24 Page
                                                          Page67ofof24
                                                                     25PageID #: 40




             20.      Once the total pH is below 4.6, the products can be processed in a more

     flexible manner.

             21.      All the Products (except for Pineapple Apple Mint) contain lemon juice,

     indicated on the front label and on the ingredient list as “organic juice from: organic

     lemon(s)” (“lemon juice”).5

                           Arugula Front Label                   Arugula Ingredient List




             22.      Because the ingredient list declares “lemon juice” without modifying words

     (i.e., from concentrate), the lemon juice is not from concentrate (“NFC”).

             23.      Citrus juices are not obtained through a cold-press in the same way juice from

     pome fruit (apples, pears) or stone fruit (peaches, plums) because:

             •     the outer skin or epicarp of citrus is a composite structure with flavoring substances

             •     direct pressing would result in imprecise quantities of peel, peel oil



 5
     Other products identify the ingredient as “organic lemon juice.”

                                                             6
Case 1:17-cv-05191-ARR-RML
           3:22-cv-03071-CRL-KLM
                             Document
                                  # 55-6
                                      11 Filed:
                                         Filed 12/13/17
                                                05/10/24 Page
                                                          Page78ofof24
                                                                     25PageID #: 41




         •      lemon juice processing depends upon capturing the juice, peel and peel oil.

          24.      Due to these issues, extraction machines developed to cleanly separate the

  juice, peel and peel oil.

          25.      The raw juice exiting the extractors is collected in a surge tank, which

  maintains a constant flow of juice. The juice is prone to rapid microbial, enzymatic, and

  oxidative deterioration, so it is chilled to 8–10°C or less as soon as possible.

          26.      Rapid chilling is achieved by pumping the juice through a heat exchanger

  against mechanically refrigerated water or brine.

          27.      The juice contains an excessive quantity of suspended solids - pulp juice sacs,

  membranes, and residual pieces of peel that would impair the flavor, color, and cloud

  stability of the juice if not removed.

          28.      The methods used to separate the suspended solids include screening,

  filtration, centrifugation and hydrocyclones.

          29.      During process, the juice is exposed to air, which causes vitamin C oxidation,

  non-enzymatic browning, degradation of aroma compounds, and induction of off-flavor. To

  prevent this, the juice undergoes deaeration/deoiling.

          30.      Stabilization is carried out through thermal pasteurization according to

  standard industrial protocols to inactivate enzymes (mainly pectin methylesterase or PME)

  and destroy pathogenic and spoilage-causing microorganisms.

          31.      Since the Products contain NFC lemon juice, the thermal treatment is less

  intensive than if it contained lemon juice from concentrate.

          32.      The flavonoids naringin and limonin cause the lemon juice to become bitter,

  which is minimized through debittering techniques such as adsorption onto cellulose resins.



                                                    7
Case 1:17-cv-05191-ARR-RML
           3:22-cv-03071-CRL-KLM
                             Document
                                  # 55-6
                                      11 Filed:
                                         Filed 12/13/17
                                                05/10/24 Page
                                                          Page89ofof24
                                                                     25PageID #: 42




         33.      The final production step is the aseptic storage of the lemon juice.

         34.      It is probable that defendants use lemon juice from third-parties because:

         •     labor intensive and unprofitable to have personnel manually peeling lemons

         •     Lemon juice has a standard of identity which requires:

                when sealed at room temperature, it must either possess preservatives or be

                   processed by heat

                extracted from lemons

         •     Lemon processing operation obtains juice, peel and peel oil from the lemons,

               something a cold-press facility is not intended to do

         •     special equipment and expertise required to produce citrus products

         •     various grades of lemon juice established by USDA – not mandatory, but

               correspond to levels of quality to facilitate distribution among food manufacturers

         •     largest companies in the premium juice sector (cold pressing followed by high

               pressure) add lemon juice obtained from third parties, such as United Juice

               Companies and Perricone Farms

         35.      Once the lemon juice is blended with the other cold-pressed juices and the

  pH is lower than 4.6, the juice is bottled, sealed, then processed with high pressure. up to

  87,000 pounds per square inch (“psi”).

         36.      The high pressure causes a compositional change to the Products in protein

  denaturation, inhibition and reduction of enzymatic and microbial activities that existed prior

  to the processing step, extending shelf life from 3-5 days to 6 weeks.

                                Reasons Why Representations are Misleading

         37.      The representations are misleading by identifying and describing the products


                                                   8
Case 1:17-cv-05191-ARR-RML
           3:22-cv-03071-CRL-KLM
                              Document
                                  # 55-6
                                       11 Filed:
                                           Filed 05/10/24
                                                 12/13/17 Page
                                                          Page910
                                                                ofof
                                                                   2425
                                                                      PageID #: 43




  as “cold-pressed juice,” “raw” and “100% raw” as indicated below.

                   Front Label                                    Panel Labels




         38.    The products identified as “Cold Pressed Juice” are named differently than

  competitor’s similarly manufactured products, which promote “cold-pressed” as a feature or

  attribute of said products, instead of defining them as such, rendering defendants’ labels

                                                9
Case 1:17-cv-05191-ARR-RML
           3:22-cv-03071-CRL-KLM
                             Document
                                  # 55-6
                                      11 Filed:
                                         Filed 12/13/17
                                                05/10/24 Page
                                                          Page10
                                                               11ofof24
                                                                      25PageID #: 44




  misleading and deceptive by implication as shown below.


            BluePrint                  Bolthouse Farms                          Evolution
                                  (Owned by Campbell’s Soup)               (Owned by Starbucks)




         39.     This is misleading by implication because reasonable consumers see a higher

  price (defendants’ products are priced higher by c. $2 per 16-ounce bottle, on average), more

  enticing representations bereft of any qualifying matter as to nature of the final product, no

  mention of the word “processing” and reasonably believe defendants products are

  compositionally superior (more enzymatic activity, fresher) when they are equivalent.

         40.     Reasonable consumers understand a product identified as “cold pressed

  juice” refers to the juice in its consumable form, meaning that the last production step was

  the cold-pressed expression.

         41.     It is deceiving to give a descriptive term to name a product which does not


                                                 10
Case 1:17-cv-05191-ARR-RML
           3:22-cv-03071-CRL-KLM
                             Document
                                  # 55-6
                                      11 Filed:
                                         Filed 12/13/17
                                                05/10/24 Page
                                                          Page11
                                                               12ofof24
                                                                      25PageID #: 45




  describe the product at the point of sale.

         42.      Consumers understand and interpret cold pressed as a verb, indicating a

  production method and as an adjective, as a descriptor or modifier prior to the word “juice.”

         43.      Because defendants utilize the term “cold press” in the precise spot

  consumers are accustomed to seeing the truthful and non-misleading product name, it is

  understood not as just another fact, but as what the product is.

         44.      For example, canned grapefruit juice was at one-point fresh grapefruit juice,

  but to avoid deception, it bears the name as it exists as a final consumable product.

         45.      Identification of the product as “cold pressed juice” implies the product is

  fresh in that it has not been processed after being cold pressed.

         46.      Defendants claims the products are “raw,” “100% Raw,” “Never Heated” and

  not “‘flash’ pasteurized,” are intended to make consumers think there is not a processing

  step, as indicated in part on alternate information panels below:




         47.      Such claims are true yet misleading because:

         •     It plays upon consumer familiarity with heat used for processing and preservation

         •     It correctly assumes reasonable consumers are unfamiliar with non-thermal

               pasteurization or treatment methods such as high pressure or ultraviolet rays

         48.      Defendants’ labels contain roughly one hundred non-required words on three


                                                  11
Case 1:17-cv-05191-ARR-RML
           3:22-cv-03071-CRL-KLM
                             Document
                                  # 55-6
                                      11 Filed:
                                         Filed 12/13/17
                                                05/10/24 Page
                                                          Page12
                                                               13ofof24
                                                                      25PageID #: 46




  panels with an entire panel devoted to the term “Manifreshto,” a mashup of the words

  “Manifesto” and “Fresh.”

         49.     Reasonable consumers understand a fresh juice product to be one that is not

  processed or preserved and that the occurrence of processing or preservation is not

  compatible with a fresh product.

         50.     It is misleading to imply the Products are “fresh” and in context, deceptive to

  omit the word “processing” or “processed” entirely.

         51.     Moreover, the labels latch onto the common etymological origin of “cold

  press” and “high pressure” in the word “press,” meaning to squeeze.

         52.     For instance, the information panel emphasizes that “The BluePrintMethod

  applies tons of hydraulic pressure to get the most out of our organic fruits and vegetables,”

  while simultaneously stating the products are “Never Heated” and that “BluePrint uses

  pressure instead of heat to keep our beverages raw and safe.”




         53.     The use of these intralingual cognates is deceptive as it intentionally fails to

  demarcate where one “pressure” step begins and the other ends.

         54.     This message is effective because reasonable consumers:


                                                 12
Case 1:17-cv-05191-ARR-RML
           3:22-cv-03071-CRL-KLM
                             Document
                                  # 55-6
                                      11 Filed:
                                         Filed 12/13/17
                                                05/10/24 Page
                                                          Page13
                                                               14ofof24
                                                                      25PageID #: 47




         •     Expect the product name will be a truthful accurate description

         •     not aware of non-thermal methods which are tantamount to heat high pressure,

               ultraviolet rays in their processing, preservation and treatment effects

         •     Understand raw in the context of a food safety effect, i.e., thermal pasteurization to

               milk or grilling a hamburger

         •     Expect that raw refers to a product in its unprocessed, unpreserved state

         •     Expect that a product labeled raw would not undergo intervening processes

               following the earliest time it would be consumable – after cold pressed

         55.      Defendants own internal research performed in 2016 confirmed that

  defendants had not dispelled any confusion.

         56.      This research indicated to defendants that while consumers valued the “cold

  pressed” designation, they were unaware of what high pressure processing was and did not

  understand its connection to cold-pressed.

         57.      This is because the cold-pressed and fresh claims describe a juice product

  which has not been treated following its expression/extraction.

         58.      Due to the NFC lemon juice being subjected to thermal pasteurization to

  inactivate PME, it is false and misleading to describe the Cold Press Juice Products as “raw,”

  even accepting defendants’ attempt to pigeonhole “raw” as only applying to heat.

         59.      It is eminently feasible to determine with a high degree of certainty the origins

  of the lemon juice in defendants’ Products through testing for residual pectin methylesterase

  (“PME”) and the presence of certain key flavonoids.

         60.      Consumers are able to purchase juice which has only been cold-pressed and

  they will pay a premium for it – between $9.99 to $11.99 per 12 ounces.


                                                   13
Case 1:17-cv-05191-ARR-RML
           3:22-cv-03071-CRL-KLM
                             Document
                                  # 55-6
                                      11 Filed:
                                         Filed 12/13/17
                                                05/10/24 Page
                                                          Page14
                                                               15ofof24
                                                                      25PageID #: 48




         61.      This high price is commanded because the juice is fresh – there are no

  processing or treatment steps applied following the point at which the product is consumable.

         62.      When “Manifreshto” was registered in 2011, BluePrint juice products were

  available which were not processed.

         63.      At some point after 2011 but at least three years prior to present, all of the

  products were processed.

         64.      Defendants’ vertical listing of ingredients on the front label is responsive to

  increased consumer demand for transparency.

         65.      The products with the first-named vertically listed ingredients of Arugula,

  Chard and Beet give the false impression these more expensive ingredients are predominant.

        Arugula                                Chard                                 Beet




                                                  14
Case 1:17-cv-05191-ARR-RML
           3:22-cv-03071-CRL-KLM
                             Document
                                  # 55-6
                                      11 Filed:
                                         Filed 12/13/17
                                                05/10/24 Page
                                                          Page15
                                                               16ofof24
                                                                      25PageID #: 49




          66.      This is shown by the ingredient lists indicating the main ingredients in the

  first two products is basic romaine lettuce – not arugula or chard – while instead of beets,

  the consumer gets apple juice.

          67.      It is reasonable to expect the first ingredient on the front is predominant

  because:

         •      the Products are a premium price, so the consumer will think “you get what you pay

                for”

         •      absence of a product name such as chard-flavored vegetable juice blend

         •      label and juice color correspond to first named ingredient.

          68.      Defendants’ 12-ounce BluePrint Organic Products, Lemon Yay and Lime

  Lifter, are misleading because they are described as “crafted with cold pressed juice” despite

  being entirely citrus juices.

          69.      Citrus juices are not cold pressed for the same reasons that apply with respect

  to the lemon juice production, supra.




                                                   15
Case 1:17-cv-05191-ARR-RML
           3:22-cv-03071-CRL-KLM
                             Document
                                  # 55-6
                                      11 Filed:
                                         Filed 12/13/17
                                                05/10/24 Page
                                                          Page16
                                                               17ofof24
                                                                      25PageID #: 50




                       Front Panel                             Information Panel




         70.     The above-referenced representations and omissions are material facts which

  plaintiff and class members relied on, paying more than they would have and not receiving

  all that they bargained for.

         71.     Excluding tax, the BluePrint Cold Pressed Juice products cost between $5.99

  and $11.99 while the BluePrint Organic products cost between $3.99 and $5.99, premium

  prices compared to other products manufactured in multiple, similar production steps.

                                      Jurisdiction and Venue

         72.     Jurisdiction is proper pursuant to 28 U.S.C. § 1332(d)(2).

         73.     Upon information and belief, the aggregate amount in controversy is more

  than $5,000,000.00, exclusive of interests and costs.

         74.     This Court has personal jurisdiction over defendants because they conduct


                                                 16
Case 1:17-cv-05191-ARR-RML
           3:22-cv-03071-CRL-KLM
                             Document
                                  # 55-6
                                      11 Filed:
                                         Filed 12/13/17
                                                05/10/24 Page
                                                          Page17
                                                               18ofof24
                                                                      25PageID #: 51




  and transact business, contract to supply and supply goods within New York.

          75.         Venue is proper because plaintiff and many class members reside in this

  District and defendants have been doing business in this District and in New York.

          76.         A substantial part of events and omissions giving rise to the claims occurred

  in this District.

          77.         The class is all consumers in all states who purchased any Products bearing

  any of the actionable representations herein during the statutes of limitation periods.

          78.         A class action is superior to other available methods for the fair and efficient

  adjudication of this controversy.

          79.         The class is so numerous that joinder of all members, even if permitted, is

  impracticable, as plaintiff believes there are hundreds of thousands of members.

          80.         Common questions of law or fact predominate and include whether the

  representations were likely to deceive reasonable consumers and if plaintiff and class

  members are entitled to damages.

          81.         Plaintiff’s claims and the basis for relief are typical to other members’ owing

  to all being subjected to the same representations.

          82.         Plaintiff is an adequate representative because his interests do not conflict

  with other class members.

          83.         No individual inquiry is necessary since the focus is only on defendants’

  practices and the class is definable and ascertainable.

          84.         Individual actions risk inconsistent results, would be repetitive and are

  impractical to justify, as the claims are modest.

          85.         Plaintiff’s counsel is competent and experienced in complex class action



                                                      17
Case 1:17-cv-05191-ARR-RML
           3:22-cv-03071-CRL-KLM
                             Document
                                  # 55-6
                                      11 Filed:
                                         Filed 12/13/17
                                                05/10/24 Page
                                                          Page18
                                                               19ofof24
                                                                      25PageID #: 52




  litigation and intends to adequately and fairly protect class members’ interests.

         86.     Plaintiff seeks class-wide injunctive relief because the practices continue,

  with the injunctive class maintained as a class action because it meets the same criteria as

  the non-injunctive class.

                                                Parties

         87.     Plaintiff is a citizen of Queens County, New York.

         88.     The Hain Celestial Group, Inc. and Hain BluePrint, Inc. are corporations

  formed under the laws of Delaware and doing business in New York.

         89.     Hain Blueprint, Inc. is a wholly-owned subsidiary of The Hain Celestial

  Group, Inc.

         90.     In spring 2016, plaintiff purchased the BluePrint Cold Pressed Juice product

  for personal consumption with the “beet, apple, carrot, lemon, ginger” ingredients listed on

  the front label, for no less than $7.99, excluding tax, at a grocery market in this District.

         91.     Plaintiff bought this product because prior to purchase, he saw and relied

  upon its principal display panel which identified it as a “Cold Pressed Juice Beverage” and

  “Raw” and that it contained more beet juice than the other juices listed.

         92.     Plaintiff understood these terms together to mean the juice was not processed

  after being cold pressed, all of the ingredients were cold pressed, and that beets were the

  predominant ingredient due to its being first listed on the front label, the product’s red color

  and red graphic.

         93.     In 2016, plaintiff purchased a BluePrint Organic (12) Lemon Yay for $2.99,

  excluding tax, at a store within this District because he read the supplemental information

  panel which said it was “crafted with cold pressed juice.”



                                                   18
Case 1:17-cv-05191-ARR-RML
           3:22-cv-03071-CRL-KLM
                             Document
                                  # 55-6
                                      11 Filed:
                                         Filed 12/13/17
                                                05/10/24 Page
                                                          Page19
                                                               20ofof24
                                                                      25PageID #: 53




          94.     The ingredients in Lemon Yay include water, organic lemon juice, organic

  agave syrup and pepper extract with cayenne.

          95.     Since lemon juice is not expressed from lemons based on the reasons

  described, supra, syrup is already in a liquid form and pepper is a spice, none of the

  ingredients could have been obtained through being “cold pressed.”

          96.     Plaintiff purchased these Products because he intended to consume products

  which possessed the attributes and features described herein and opted against buying less

  expensive juices not so represented.

                   Violations of New York General Business Law §§ 349 & 350

          97.     Plaintiff repeats and realleges each and every allegation contained in all

  foregoing paragraphs as if fully set forth herein.

          98.     Defendants’ acts and practices, advertising, labeling, packaging and

  representations are not unique to the parties and have a broader impact on the public.

          99.     Consumers are not accustomed to inaccurate descriptions of a product on the

  front label in the place where a truthful, non-fanciful, non-boastful name is supposed to be.

          100.    Cold pressed juice is misleading as an identification and description of the

  products because the cold pressed juice only exists at an intermediate stage before it is

  processed. Moreover, all of the ingredients are not even cold-pressed.

          101.    A reasonable consumer understands a product’s name to refer to it in its final,

  consumable form, in the same way that calories or nutrients in a food are not based on a food

  before it is finished and ready to eat.

          102.    Plaintiff and reasonable consumers were misled because they were not aware

  the products could be processed and preserved without heat, viz, thermal pasteurization.



                                                  19
Case 1:17-cv-05191-ARR-RML
           3:22-cv-03071-CRL-KLM
                             Document
                                  # 55-6
                                      11 Filed:
                                         Filed 12/13/17
                                                05/10/24 Page
                                                          Page20
                                                               21ofof24
                                                                      25PageID #: 54




         103.     When they see labels stating ‘cold-pressed,’ ‘never heated’ and ‘fresh,’ they

  will pay a price premium, believing they have not been processed or preserved.

         104.     Defendants offer partial, voluntary disclosures and fail to state additional or

  qualifying matter with respect to what they did say.

         105.     Though certain of Defendants representations may be literally true so far as

  it goes, they are nonetheless misleading.

         106.     The above-referenced representations and omissions on the labeling and

  packaging were material facts that are deceptive, misleading and false advertising which

  plaintiff and class members relied on, paying more than they would have and not receiving

  all that they bargained for.

         107.     As a result, plaintiff and class members are entitled to damages.

                                   Fraudulent Misrepresentation

         108.     Plaintiff repeats and realleges each and every allegation contained in the

  foregoing paragraphs as if fully set forth herein.

         109.     The cold-press identification and designation on the front label, the

  purposefully overlapping description between the expression and processing steps (both

  centered around pressure), the raw and “never heated” claims and “Manifreshto” are all

  based on representing the Product as one which has not undergone a second production step.

         110.     Defendants had an affirmative duty to disclose:

         •    the Products were processed, because this would complete their partial statements

              with respect to their claims the Products were raw and identified in their final form

              as “Cold Pressed Juice” and

         •      that their definition of a raw product excludes products which are fresh.


                                                  20
Case 1:17-cv-05191-ARR-RML
           3:22-cv-03071-CRL-KLM
                             Document
                                  # 55-6
                                      11 Filed:
                                         Filed 12/13/17
                                                05/10/24 Page
                                                          Page21
                                                               22ofof24
                                                                      25PageID #: 55




         111.    All of the representations are interrelated and designed to be viewed in

  totality, each discrete statement reinforcing the others.

         112.    They are carefully worded and rely on the long-held association of heat and

  raw, because since the beginning of time and until recently, the main method used by humans

  preserve their food was fire.

         113.    BluePrint began as a company which did not employ a processing step after

  cold-pressing and was one of the first companies to offer a different kind of juice product.

         114.    Although BluePrint was acquired by defendant Hain Celestial, it was not as

  financially successful as the reported purchase price of $30 million would indicate

         115.    Defendants’ representations were made to plaintiff in the spring of 2016 in

  the form of the product identification as “Cold Pressed Juice Beverage” and that the product

  was “raw” and “100% Raw.”

         116.    At that time, defendants were motivated by financial gain and straining to

  hold back competition from large market entrants, from product options backed by the

  largest consumer packaged goods companies in the world.

         117.    Defendants knew that other juice products more accurately represented their

  products and were lower-priced.

         118.    The only way to differentiate its products, in a supermarket produce section

  filled to the brim with premium juice was to capitalize on the reasonable connection which

  consumers had between traditional heat preservation and the result of a commercially sterile

  product.

         119.    By omitting the material fact that other, non-thermal technologies could and

  did, achieve commercial sterility, defendants induced plaintiff and consumers into believing



                                                  21
Case 1:17-cv-05191-ARR-RML
           3:22-cv-03071-CRL-KLM
                             Document
                                  # 55-6
                                      11 Filed:
                                         Filed 12/13/17
                                                05/10/24 Page
                                                          Page22
                                                               23ofof24
                                                                      25PageID #: 56




   that their products were substantively different than they were.

           120.    Plaintiff and class members reasonably relied on the specific absence of the

   occurrence of a processing step and paid a premium for the Cold Pressed Juice products,

   above what they would have paid had they known the truth, without getting all they

   bargained for – a product which was fresh and unprocessed.

                                             Unjust Enrichment

           121.    Plaintiff repeats and realleges each and every allegation contained in the

   foregoing paragraphs as if fully set forth herein.

           122.    Defendants obtained benefits and monies because the Products were not as

   represented, to the detriment and impoverishment of plaintiff and class members, who seek

   restitution and disgorgement of such inequitably obtained profits.

                                  Jury Demand and Prayer for Relief

  Plaintiff demands a jury trial on all issues.

     WHEREFORE, plaintiff, on behalf of himself and all others similarly situated, prays for

  judgment:

     1. Declaring this a proper class action and certifying plaintiff as class representative;

     2. Entering preliminary and permanent injunctive relief and directing defendant to correct

         their practices to comply with the law;

     3. Awarding monetary damages and interest, including treble and punitive damages, pursuant

         to the common law claims and GBL §§ 349, 350;

     4. Awarding plaintiff and class members costs and expenses incurred, including reasonable

         allowance of fees for plaintiff’s attorneys and experts; and

     5. Such other and further relief as the Court deems just and proper.



                                                   22
Case 1:17-cv-05191-ARR-RML
           3:22-cv-03071-CRL-KLM
                             Document
                                  # 55-6
                                      11 Filed:
                                         Filed 12/13/17
                                                05/10/24 Page
                                                          Page23
                                                               24ofof24
                                                                      25PageID #: 57




  Dated: December 13, 2017
                                                      Respectfully submitted,

                                                      Levin-Epstein & Associates, P.C.

                                                      By: /s/Joshua Levin-Epstein
                                                      Joshua Levin-Epstein
                                                      1 Penn Plaza, Suite 2527
                                                      New York, NY 10119
                                                      Tel: (212) 792-0046
                                                      Fax: (212) 563-7108
                                                      joshua@levinepstein.com

                                                      Sheehan & Associates, P.C.

                                                      By: /s/ Spencer Sheehan____
                                                      Spencer Sheehan
                                                      891 Northern Blvd., Suite 201
                                                      Great Neck, NY 11021
                                                      Tel: (516) 303-0552
                                                      Fax: (516) 234-7800
                                                      spencer@spencersheehan.com




                                        23
Case 1:17-cv-05191-ARR-RML
           3:22-cv-03071-CRL-KLM
                             Document
                                  # 55-6
                                      11 Filed:
                                         Filed 12/13/17
                                                05/10/24 Page
                                                          Page24
                                                               25ofof24
                                                                      25PageID #: 58




  1:17-cv-5191(ARR)(MRL)
  United States District Court
  Eastern District of New York

  Josh Davis, individually on behalf of himself and all others similarly situated,


                         Plaintiff,


           - against -


  The Hain Celestial Group, Inc. and Hain Blueprint, Inc.,


                         Defendants



                                       First Amended Complaint


                                      Levin-Epstein & Associates, P.C.
                                                1 Penn Plaza
                                                  Suite 2527
                                            New York, NY 10119
                                             Tel: (212) 792-0046
                                             Fax: (212) 563-7108
                                          joshua@levinepstein.com




  Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney admitted to practice in the courts of
  New York State, certifies that, upon information, and belief, formed after an inquiry reasonable
  under the circumstances, the contentions contained in the annexed documents are not frivolous.

  Dated: December 13, 2017
         New York, New York
                                                               /s/ Joshua Levin-Epstein
                                                              Joshua Levin-Epstein
